                                                                Case 2:18-cr-00144-JAD-EJY Document 259 Filed 10/16/20 Page 1 of 1


                                                            1                              UNITED STATES DISTRICT COURT

                                                            2                                    DISTRICT OF NEVADA

                                                            3     UNITED STATES OF AMERICA,                     CASE NO.: 2:18-cr-00144-JAD-EGY
                                                            4                     Plaintiff;
                                                                                                                ORDER
                                                            5           vs.
                                                                                                                            ECF No. 257
                                                            6     PHILLIP SHIEL,
                                                            7                     Defendants.
                                                            8

                                                            9           Based upon the stipulation of counsel, and good appearing, IT IS HEREBY ORDERED
                                                           10   that defendant’s reply brief for Motion to Vacate Sentence (2255) shall be due on October 15,
                                                           11   2020.
1070 W. HORIZON RIDGE PKWY., SUITE 202




                                                           12
  KATHLEEN BLISS LAW PLLC




                                                           13
      HENDERSON, NEVADA 89012
                                    TEL – (702) 463.9074




                                                           14   DATED: 10/15/2020
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                                                                                                          THE HONORABLE JENNIFER A. DORSEY
                                                           20                                             UNITED STATES DISTRICT JUDGE

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